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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          ) 1:08cr282 LJO
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            ) ORDER
                                        )
14   FRANCISCO LIERA, et al.,           )
                                        )
15                  Defendant.          )
     __________________________________ )
16
17
          Having read and considered the parties’ stipulation to
18
     suspend the briefing schedule,
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          IT IS THE ORDER of the Court that the briefing schedule in
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     this matter is hereby suspended and the motions hearing of April
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     17 shall be converted to a status conference, at which time the a
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     new briefing schedule and hearing motion shall be set.
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          The Court further finds that the ends of justice served by
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     granting the requested continuance outweigh the best interests of
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     the public and the defendant in a speedy trial, in that the
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     failure to grant the continuance would deny the parties an
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     opportunity to potentially dispose of the matter without a trial
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1    and would deny the defendant an opportunity to properly
2    investigate.
3             WHEREFORE IT IS HEREBY ORDERED that time shall be excluded
4    in the interest of justice, pursuant to 18 U.S.C. §
5    3161(h)(8)(A).
6    IT IS SO ORDERED.
7    Dated:     April 7, 2009                /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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